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                            IJM TED STATE S D ISTRICT C O ITR T
                            SO UTH ERN D ISTR ICT O F FLO R IDA

                                 CA SE N O .19-CR -80196-A H S



   ITM TE D STA TE S O F A M ERICA

   VS.,

   RIC H AR D G ARIPO LI,

                        Defendant.
                                              /


                      A G REED FA C TUA L BA SIS FO R G U ILTY PLEA

          Beginningin oraround January2018andcontinuingthrough in orarotmd Septem ber2019,

   in Palm Beach County, in the Southem District of Florida, and elsewhere, the defendant,

   RICHARD GARIPOLICtGAR1POLI''I,didknowinglycombine,conspireandagreewithothers,
   in violation ofTitle 18,United StatesCode,Section 1349,to com mithealth care fraud,thatis,to

   knowingly and willfully execute a scheme and artifice to deâaud ahealth care benefitprogram '

   affectingcommerce,asdefinedin Title 18,United StatesCode,Section 24(b),thatis,M edicare,
   and to obtain,by meansofm aterially false orfraudulentpretenses,representations,orprom ises,

   m oney mzd property owned by,and tmder the custody and controlof,said health care benefit

   progrnm,in connection w1111the delivery of and paym entfor health care benefits,item s,and

   services,in violation ofTitle 18,United StatesCode,Section 1347. M edicare is a t&health care

   benefitprogrnm ''asdefined in Title 18,United StatesCode,Section 24.

          GARIPOLIwastheownerofLotusHealthTelemed,LLC CçLotusTelemed'')atldLotus
   Health Services,LLC CtotusServices'')(collectively,GiottlsHealth''),corporationsorgnnized
        z'
    ',.                                                                                                       .
    ;
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             under the laws ofthe State ofFlorida,with theirprincipalplaces of business in the Southern

I            D istrict of Florida. Lotus Telem ed and Lom s Services w ere telem edicine com panies that

             pup orted to enable m edicalprovidersto access patientrecords electronically and rem otely,and

             toprescribem edicalservicesto individuals,including genetictests. Through LotusTelemed and

             Lot'us Services, GARIPOLI'S co-conspirators obtained prescriptions for genetic testing of

             M edicarebeneficiariesthatwerenoteligibleforreimbursementby the M edicareprogrnm .

                    Specifically, patient brokers targeted and recnlited M edicare beneficiariey to receive

             genetic testing through telem arketing and othercam paigns. A fterbeneticiaries agreed to take the

             genetic tests,the patientbrokers paid Lot'us Hea1th forconsultations provided by telem edicine

             doctors,who used the Lotusflealth software platform to sign requisition orders authorizing the
             genetic testing. As GARIPOLI knew or had every reason to know but deliberately avoided

             knowing,the telemedicine doctors were not treating the beneficiary for any specific medical

             problem,symptom ,illness,ordiagnosis,and thetelem edicinedoctorsdidnotusetheresultsinthe .

             managementofany beneficiary'sspecificm edicalproblem s.Thepatientbrokerssoldthegenetic

             testsand doctor'sorderstolaboratories,including Labsolutions,LLC,whichthen bille'
                                                                                             d M edicare

             forthetests.

                    A s a result of GA RIPOLI'S pM icipation in the conspiracy, GA RIPOLI received

             approximately $174,355.In addition,asaresultofGARIPOLI'Sparticipation in theconspiràcy,

             Labsolutions,LLC billed M edicare approximately $10,826,954 for genetic tests thatwere not

             eligibleforreim bursement,ofwhich M edicarepaid approximately $6,332,942.
                    The preceding statem entisa summary,made forthepurpose ofproviding theCourtwith

             afacm albasisformy guilty pleato thechargesagainstme.Itdoesnotincludea1lthe factsknown


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   to m e concem ing crim inalactivity in wllich Iand othersengaged. Im akethis statem entknowingly

   and voluntarily and becauseIam in factguilty ofthe crim escharged.



   DATE:?//7/zs                           By:              %
                                                RICHA RD GA RIPO I
                                                Defendant


   DATE:///?/,a                           By: Kv -.             ? W
                                                TODD W EICHOLZ,ESQ.
                                                                              '
                                                Attorney forDefendant


   ov s, ?    //w/aa                      By:
                                                   j)
                                                  .y.at.    EU.ER,ESQ.
                                                Atttney forDefendant


   DATE:Jl,/a,                            By:
                                                ALEXANDER THOR POGOZELSM
                                                TrialAttom ey
                                                Crim inalDivision,Fraud Section




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